 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

             Western District of Washington

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Sharon
       Write the name that is on your         First name                                                      First name
       government-issued picture               Ann
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Wines
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden         Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as
       names.                                 Last name                                                       Last name

       Do NOT list the name of any
       separate legal entity such as a        Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 2           3    1     2                             xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
                    Case 23-12116-MLB                        Doc 1            Filed 10/31/23      Ent. 10/31/23 14:29:33                      Pg. 1 of 63
 Debtor 1            Sharon              Ann                         Wines                                          Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification                   -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          11231 State Ave
                                          Number            Street                                        Number           Street




                                          Marysville, WA 98271-7231
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Snohomish
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.

                                          4910 104th Pl NE
                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box

                                          Marysville, WA 98270
                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1            Sharon            Ann                      Wines                                           Case number (if known)
                     First Name        Middle Name              Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑      Chapter 7
                                       ❑      Chapter 11
                                       ❑      Chapter 12
                                       ❑      Chapter 13



  8.   How you will pay the fee        ❑ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                             details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                             check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                             a credit card or check with a pre-printed address.
                                       ✔ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                       ❑
                                             to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                             judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                             official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                             choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                             103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                 When                        Case number
                                                                                                        MM / DD / YYYY

                                                  District                                       When                        Case number
                                                                                                        MM / DD / YYYY

                                                  District                                       When                        Case number
                                                                                                        MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                     Relationship to you
       case with you, or by a
       business partner, or by an                 District                                     When                      Case number, if known
       affiliate?                                                                                     MM / DD / YYYY


                                                  Debtor                                                                 Relationship to you

                                                  District                                     When                      Case number, if known
                                                                                                      MM / DD / YYYY




  11. Do you rent your residence?      ❑ No. Go to line 12.
                                       ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                       ❑
                                              ✔ No. Go to line 12.
                                              ❑
                                              ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                        as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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 Debtor 1            Sharon                Ann                       Wines                                         Case number (if known)
                     First Name            Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an                 Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.          Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.                                  City                                               State            ZIP Code

                                                 Check the appropriate box to describe your business:

                                                 ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑              I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                           I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                          Bankruptcy Code.

                                           ❑ Yes.         I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.         I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                          Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                    Case 23-12116-MLB                   Doc 1            Filed 10/31/23        Ent. 10/31/23 14:29:33                 Pg. 4 of 63
 Debtor 1            Sharon             Ann                     Wines                                        Case number (if known)
                     First Name         Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
                    Case 23-12116-MLB             Doc 1          Filed 10/31/23           Ent. 10/31/23 14:29:33              Pg. 5 of 63
 Debtor 1            Sharon             Ann                        Wines                                                Case number (if known)
                     First Name         Middle Name                 Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                        About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                    You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔ I received a briefing from an approved credit counseling
                                        ❑                                                                      ❑ I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy              agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                  petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,         Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                    that you developed with the agency.

      If you file anyway, the court     ❑ I received a briefing from an approved credit counseling             ❑ I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy              agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.               petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you            Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.          MUST file a copy of the certificate and payment plan, if any.

                                        ❑ I certify that I asked for credit counseling services from an        ❑ I certify that I asked for credit counseling services from an
      again.
                                             approved agency, but was unable to obtain those services               approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                 during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                   circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                           requirement.
                                             To ask for a 30-day temporary waiver of the requirement,               To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to            attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before           obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances               you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                        required you to file this case.

                                              Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                              your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                              bankruptcy.                                                           bankruptcy.

                                              If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                              receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                              with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                              do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                              Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                              cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑ I am not required to receive a briefing about credit                 ❑ I am not required to receive a briefing about credit
                                             counseling because of:                                                 counseling because of:
                                             ❑ Incapacity. I have a mental illness or a mental                      ❑ Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                                realizing or making rational decisions                                realizing or making rational decisions
                                                                about finances.                                                       about finances.
                                             ❑ Disability.      My physical disability causes me to be              ❑ Disability.      My physical disability causes me to be
                                                                unable to participate in a briefing in                                 unable to participate in a briefing in
                                                                person, by phone, or through the                                       person, by phone, or through the
                                                                internet, even after I reasonably tried to                             internet, even after I reasonably tried to
                                                                do so.                                                                 do so.
                                             ❑ Active duty. I am currently on active military duty in               ❑ Active duty. I am currently on active military duty in
                                                                a military combat zone.                                               a military combat zone.

                                              If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                              about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                              credit counseling with the court.                                     credit counseling with the court.




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                                page 6
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 Debtor 1            Sharon                Ann                      Wines                                            Case number (if known)
                     First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you               16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                        “incurred by an individual primarily for a personal, family, or household purpose.”
                                                    ❑ No. Go to line 16b.
                                                    ✔ Yes. Go to line 17.
                                                    ❑
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                   for a business or investment or through the operation of the business or investment.
                                                    ❑ No. Go to line 16c.
                                                    ❑ Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?         ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                              ✔
                                              ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                       ✔ No
                                                            ❑
      paid that funds will be available                     ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you                ✔ 1-49
                                               ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                   ❑ 50-99           ❑ 5,001-10,000
                                               ❑ 100-199         ❑ 10,001-25,000
                                               ❑ 200-999

  19. How much do you estimate your            ✔ $0-$50,000
                                               ❑                                    ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                               ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                               ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your            ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                       ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                               ✔ $100,001-$500,000
                                               ❑                                    ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                               ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                  States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                  have obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                  and 3571.

                                    ✘ /s/ Sharon Ann Wines
                                        Sharon Ann Wines, Debtor 1
                                        Executed on 10/31/2023
                                                         MM/ DD/ YYYY




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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 Debtor 1            Sharon                 Ann                     Wines                                          Case number (if known)
                     First Name             Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Erin Lane                                                        Date 10/31/2023
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                  Erin Lane
                                                  Printed name

                                                  Washington Law Group, PLLC
                                                  Firm name

                                                  2319 N 45th St Ste 215A
                                                  Number       Street



                                                  Seattle                                                          WA      98103
                                                  City                                                             State   ZIP Code



                                                  Contact phone (206) 686-6054                       Email address ErinL@washingtonstateattorneys.com


                                                  42504                                                            WA
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
                    Case 23-12116-MLB                  Doc 1         Filed 10/31/23            Ent. 10/31/23 14:29:33                  Pg. 8 of 63
 Fill in this information to identify your case and this filing:

  Debtor 1                 Sharon                       Ann                          Wines
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Western                   District of        Washington

  Case number                                                                                                                                                            ❑ Check if this is an
                                                                                                                                                                           amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      Timeshare                                        ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the              Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                  portion you own?
                 Po Box 98940
                                                                  ❑ Land
                Las Vegas, NV 89193-8940                          ❑ Investment property                                                                       $0.00                      $0.00

                City        State     ZIP Code
                                                                  ✔ Timeshare
                                                                  ❑                                                                    Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                Clark                                                                                                                  a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                County
                                                                  ✔ Debtor 1 only
                                                                  ❑                                                                     Wyndham Timeshares
                                                                  ❑ Debtor 2 only
                                                                  ❑ Debtor 1 and Debtor 2 only                                         ❑ Check if this is community property
                                                                                                                                            (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                         $0.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                               page 1


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Debtor Wines, Sharon Ann                                                                                                    Case number (if known)



       3.1     Make:                           Kia               Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                               Sportage
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2020              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:            47261
                                                                 ❑ Check if this is community property (see                                           $18,461.00                 $18,461.00
               Other information:                                     instructions)




       If you own or have more than one, describe here:

       3.2     Make:                           Ford              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                               F250
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2000              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:            227392
                                                                 ❑ Check if this is community property (see                                             $6,903.00                 $6,903.00
               Other information:                                     instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ❑ No
       ✔ Yes
       ❑

       4.1     Make:                           Jayco             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                            Eagle 299rls
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2008              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see                                             $8,050.00                 $8,050.00
                Debtor lives in trailer                               instructions)



       If you own or have more than one, list here:

       4.2     Make:                           Mallard           Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                               26' Trailer
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                               2017              ❑ Debtor 1 and Debtor 2 only
                                                                 ✔ At least one of the debtors and another
               Year:                                                                                                                  Current value of the            Current value of the
                                                                 ❑                                                                    entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see                                           $19,050.00                  $9,525.00
                co-owned with Jonathan Dewart.                        instructions)
                Debtor is surrendering her interest
                only



                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                $42,939.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2




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 Do you own or have any legal or equitable interest in any of the following items?                                                        Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Household Goods and Furnishings                                                                                      $300.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Surface Laptop, HP Printer, Apple XR Cellphone, TV                                                                   $120.00


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Everyday Clothing                                                                                                     $50.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Assorted costume jewelry                                                                                              $50.00




Official Form 106A/B                                                Schedule A/B: Property                                                                page 3



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Debtor Wines, Sharon Ann                                                                                                                          Case number (if known)



 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                             $520.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................   Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           BECU 2320                                                                                                         $0.00

                                             17.2. Checking account:                           Chase #7297                                                                                                     $21.14

                                             17.3. Savings account:                            BECU 2297                                                                                                         $0.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 4



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 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Name of entity:                                                       % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
           account separately. Type of account:               Institution name:

                                      Retirement account:       Voya                                                                                $779.41


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                         Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:




Official Form 106A/B                                                       Schedule A/B: Property                                                    page 5




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 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................   Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                                                                                                                    State:
                 the tax years. ...................
                                                                                                                    Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement



Official Form 106A/B                                                     Schedule A/B: Property                                                              page 6




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       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                                                     Alimony:

                                                                                                                                                     Maintenance:

                                                                                                                                                     Support:

                                                                                                                                                     Divorce settlement:

                                                                                                                                                     Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                        Surrender or refund value:

                                                                      Mutual of Enumclaw Renters
                                                                      Insurance                                                                                                                         $0.00

                                                                      Progressive Renters insurance                                                                                                     $0.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                    $800.55
       for Part 4. Write that number here .................................................................................................................................



Official Form 106A/B                                                                      Schedule A/B: Property                                                                                       page 7



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  Part 5:        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ❑ No. Go to Part 6.
       ✔ Yes. Go to line 38.
       ❑
                                                                                                                                   Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ❑ No
       ✔ Yes. Describe .......
       ❑
                                 Name of entity:                                                         % of ownership:

                                    Threading My Way LLC ANY VALUE???                                                 51.00%                     unknown


 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




Official Form 106A/B                                             Schedule A/B: Property                                                            page 8


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 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                     $0.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                     claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                     page 9



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Debtor Wines, Sharon Ann                                                                                                                   Case number (if known)




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                       $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                      $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔                  $0.00


 56.   Part 2: Total vehicles, line 5                                                                                $42,939.00

 57.   Part 3: Total personal and household items, line 15                                                                $520.00

 58.   Part 4: Total financial assets, line 36                                                                            $800.55

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                             $44,259.55            Copy personal property total             ➔       +     $44,259.55



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                     $44,259.55




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                    page 10



              Case 23-12116-MLB                                    Doc 1               Filed 10/31/23                         Ent. 10/31/23 14:29:33                                    Pg. 18 of 63
 Fill in this information to identify your case:

  Debtor 1                    Sharon               Ann              Wines
                              First Name           Middle Name     Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name     Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                                                                                                                   ❑ Check if this is an
  (if known)                                                                                                                         amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
 1.

      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from     Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                   ✔
                                                                                   ❑            $1,500.00                   11 U.S.C. § 522(d)(5)
 2020 Kia Sportage                                                    $18,461.00
                                                                                   ❑ 100% of fair market value, up
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:          3.1

 Brief description:
                                                                                   ✔
                                                                                   ❑            $4,450.00                   11 U.S.C. § 522(d)(2)
 2000 Ford F250                                                        $6,903.00
                                                                                   ❑ 100% of fair market value, up
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:          3.2
                                                                                   ✔
                                                                                   ❑            $2,453.00                   11 U.S.C. § 522(d)(5)
                                                                                   ❑ 100% of fair market value, up
                                                                                       to any applicable statutory limit



 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes


Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                               page 1 of 2

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 Debtor 1                  Sharon       Ann                   Wines                                         Case number (if known)
                           First Name   Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑            $8,050.00                   11 U.S.C. § 522(d)(1)
 2008 Jayco Eagle 299rls                                          $8,050.00
 Debtor lives in trailer                                                       ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:             4.1

 Brief description:
                                                                               ✔
                                                                               ❑              $300.00                   11 U.S.C. § 522(d)(3)
 Household Goods and Furnishings                                    $300.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:              6

 Brief description:
                                                                               ✔
                                                                               ❑              $120.00                   11 U.S.C. § 522(d)(5)
 Surface Laptop, HP Printer, Apple XR Cellphone,                    $120.00
 TV                                                                            ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:              7

 Brief description:
                                                                               ✔
                                                                               ❑              $50.00                    11 U.S.C. § 522(d)(3)
 Everyday Clothing                                                    $50.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:              11

 Brief description:
                                                                               ✔
                                                                               ❑              $50.00                    11 U.S.C. § 522(d)(4)
 Assorted costume jewelry                                             $50.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:             12

 Brief description:
                                                                               ✔
                                                                               ❑               $0.00                    11 U.S.C. § 522(d)(5)
 BECU 2320                                                             $0.00
 Checking account                                                              ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:             17

 Brief description:
                                                                               ✔
                                                                               ❑              $21.14                    11 U.S.C. § 522(d)(5)
 Chase #7297                                                          $21.14
 Checking account                                                              ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:             17

 Brief description:
                                                                               ✔
                                                                               ❑              $779.41                   11 U.S.C. § 522(d)(12)
 Voya                                                               $779.41
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:             21




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                               page 2 of 2




                    Case 23-12116-MLB              Doc 1      Filed 10/31/23           Ent. 10/31/23 14:29:33                Pg. 20 of 63
 Fill in this information to identify your case:

     Debtor 1           Sharon                 Ann                    Wines
                        First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:              Western               District of    Washington

     Case number (if
     known)                                                                                                                                     ❑ Check if this is an
                                                                                                                                                     amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A                Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim         Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                        that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                        claim                 If any

     2.1 Boeing Ecu                                    Describe the property that secures the claim:                            $0.00                 $0.00            $0.00
         Creditor’s Name
         Po Box 97050
         Number     Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
         Seattle, WA 98124                             ❑ Unliquidated
         City           State           ZIP Code
                                                       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ❑ Debtor 1 only                               ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ✔ At least one of the debtors and
         ❑                                             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred         10/1/2017      Last 4 digits of account number         6    5       0    2

         Add the dollar value of your entries in Column A on this page. Write that number here:                                $0.00




Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3




                Case 23-12116-MLB                     Doc 1          Filed 10/31/23             Ent. 10/31/23 14:29:33                       Pg. 21 of 63
Debtor 1        Sharon                Ann                      Wines                              Case number (if known)
                First Name            Middle Name             Last Name


                                                                                                           Column A               Column B                 Column C
                Additional Page                                                                            Amount of claim        Value of collateral      Unsecured
   Part 1:                                                                                                                        that supports this       portion
                After listing any entries on this page, number them beginning with 2.3,                    Do not deduct the
                followed by 2.4, and so forth.                                                             value of collateral.
                                                                                                                                  claim                    If any

  2.2 Columbia Credit Union                      Describe the property that secures the claim:                     $18,760.00              $18,461.00           $299.00
      Creditor’s Name
                                                 2020 Kia Sportage
      PO Box 324
      Number     Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Attn: Bankruptcy
      Vancouver, WA 98666                        ❑ Unliquidated
      City          State          ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred       6/1/2020      Last 4 digits of account number            3    8     5    2

  2.3 Kitsap Cu                                  Describe the property that secures the claim:                     $34,359.00                $9,525.00      $24,834.00
      Creditor’s Name
                                                 2017 Mallard 26' Trailer
      P.o. Box 990                               co-owned with Jonathan Dewart. Debtor is surrendering her interest only
      Number       Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
                                                 ❑ Unliquidated
      Bremerton, WA 98337
      City          State          ZIP Code
                                                 ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ✔ At least one of the debtors and
      ❑                                          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred       4/1/2022      Last 4 digits of account number            0    0     5    0

      Add the dollar value of your entries in Column A on this page. Write that number here:                       $53,119.00
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3




             Case 23-12116-MLB                  Doc 1         Filed 10/31/23                Ent. 10/31/23 14:29:33                      Pg. 22 of 63
Debtor 1        Sharon                Ann                      Wines                           Case number (if known)
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.4 Wyndham Resort Development                 Describe the property that secures the claim:                  $20,449.00                  $0.00      $20,449.00
      Creditor’s Name
                                                 Timeshare
      P.O. Box 98940                             Po Box 98940 Las Vegas, NV 89193-8940
      Number      Street
                                                 As of the date you file, the claim is: Check all that apply.
       Attn: Bankruptcy
                                                 ❑ Contingent
      Las Vega, NV 89139-8940
                                                 ❑ Unliquidated
      City          State          ZIP Code
                                                 ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred      2/17/2022      Last 4 digits of account number         0    0    1    6

      Add the dollar value of your entries in Column A on this page. Write that number here:                    $20,449.00
      If this is the last page of your form, add the dollar value totals from all pages.                        $73,568.00
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 3




             Case 23-12116-MLB                  Doc 1         Filed 10/31/23               Ent. 10/31/23 14:29:33                   Pg. 23 of 63
 Fill in this information to identify your case:

  Debtor 1           Sharon                  Ann                       Wines
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                  Western               District of    Washington

  Case number
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 Internal Revenue Service                           Last 4 digits of account number                                             $0.00        unknown             $0.00
      Priority Creditor’s Name
                                                         When was the debt incurred?
         Po Box 4346
         Number      Street
                                                         As of the date you file, the claim is: Check all that apply.
         Philadelphia, PA 19118-8346                     ❑ Contingent
         City             State            ZIP Code      ❑ Unliquidated
                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑                                               Type of PRIORITY unsecured claim:
         ❑ Debtor 2 only                                 ❑ Domestic support obligations
         ❑ Debtor 1 and Debtor 2 only                    ✔ Taxes and certain other debts you owe the government
                                                         ❑
         ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
         ❑ Check if this claim is for a                  ❑ Other. Specify
            community debt

         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
         Remarks: Notice Only




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 9




                Case 23-12116-MLB                     Doc 1          Filed 10/31/23              Ent. 10/31/23 14:29:33                      Pg. 24 of 63
Debtor 1          Sharon                   Ann                      Wines                             Case number (if known)
                  First Name               Middle Name             Last Name

      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Barclays Bank Delaware                                             Last 4 digits of account number           6    8    2     7                            $2,446.00
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                    9/5/2021
         125 South West St
         Number           Street
         Attn: Bankruptcy                                                As of the date you file, the claim is: Check all that apply.

         Wilmington, DE 19801
                                                                         ❑ Contingent
         City                 State                        ZIP Code      ❑ Unliquidated
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑                                                               Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ❑ At least one of the debtors and another                           priority claims
                                                                         ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify CreditCard
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
  4.2 BECU                                                               Last 4 digits of account number           0    1    7     0                           $10,050.00
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                    9/1/2021
         PO Box 97050
         Number              Street
         Attn: Bankruptcy Department                                     As of the date you file, the claim is: Check all that apply.

         Seattle, WA 98124-9750
                                                                         ❑ Contingent
         City                 State                        ZIP Code      ❑ Unliquidated
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑                                                               Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ❑ At least one of the debtors and another                           priority claims
                                                                         ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify CreditCard
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2 of 9




                Case 23-12116-MLB                     Doc 1         Filed 10/31/23              Ent. 10/31/23 14:29:33                     Pg. 25 of 63
Debtor 1       Sharon                   Ann                  Wines                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 Boeing Ecu                                                 Last 4 digits of account number         7    3    2     1                        $7,237.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/1/2021
      Po Box 97050
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Seattle, WA 98124                                          ❑ Contingent
      City                    State                   ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Unsecured
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 Boeing Ecu                                                 Last 4 digits of account number         3    6    1     3                        $2,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2022
      Po Box 97050
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Seattle, WA 98124                                          ❑ Contingent
      City                    State                   ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CheckCreditOrLineOfCredit
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 9




             Case 23-12116-MLB                  Doc 1        Filed 10/31/23            Ent. 10/31/23 14:29:33                   Pg. 26 of 63
Debtor 1       Sharon                   Ann                  Wines                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 Capital One                                                Last 4 digits of account number         4    1    4     6                       $10,057.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/1/2019
      PO Box 30285
      Number              Street
       Attn: Bankruptcy                                          As of the date you file, the claim is: Check all that apply.

      Salt Lake City, UT 84130-0285
                                                                 ❑ Contingent
      City                   State                    ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 Citi Card/Best Buy                                         Last 4 digits of account number         8    1    9     7                          $687.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2019
      PO Box 790040
      Number              Street
       Attn: Centralized Bankruptcy                              As of the date you file, the claim is: Check all that apply.

      St Louis, MO 36179-0040
                                                                 ❑ Contingent
      City                 State                      ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 Comenity/Wyndham                                           Last 4 digits of account number         9    7    4     1                        $3,193.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/1/2021
      PO Box 182125
      Number              Street
       Attn: Bankruptcy                                          As of the date you file, the claim is: Check all that apply.

      Columbus, OH 43218
                                                                 ❑ Contingent
      City               State                        ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 9


             Case 23-12116-MLB                  Doc 1        Filed 10/31/23            Ent. 10/31/23 14:29:33                   Pg. 27 of 63
Debtor 1       Sharon                   Ann                  Wines                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.8 Costco Citi Card                                           Last 4 digits of account number         2    5    5     8                        $3,885.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  5/1/2021
      PO Box 6500
      Number              Street
       Attn: Bankruptcy                                          As of the date you file, the claim is: Check all that apply.

      Sioux Falls, SD 57117
                                                                 ❑ Contingent
      City                  State                     ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.9 Navient                                                    Last 4 digits of account number         1    0    0     7                       $27,592.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/1/2005
      PO Box 9500
      Number              Street
       Attn: Bankruptcy                                          As of the date you file, the claim is: Check all that apply.

      Wilkes-Barre, PA 18773-9500
                                                                 ❑ Contingent
      City                  State                     ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt
                                                                 ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.10 Nelnet                                                     Last 4 digits of account number         8    4    1     5                       $10,021.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/17/2012
      PO Box 82505
      Number              Street
       Attn: Claims                                              As of the date you file, the claim is: Check all that apply.

      Lincoln, NE 68501-2505
                                                                 ❑ Contingent
      City                  State                     ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt
                                                                 ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 9


             Case 23-12116-MLB                  Doc 1        Filed 10/31/23            Ent. 10/31/23 14:29:33                   Pg. 28 of 63
Debtor 1       Sharon                   Ann                  Wines                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.11 Nelnet                                                     Last 4 digits of account number         8    6    1     5                        $7,961.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/29/2013
      PO Box 82505
      Number             Street
       Attn: Claims                                              As of the date you file, the claim is: Check all that apply.

      Lincoln, NE 68501-2505
                                                                 ❑ Contingent
      City                  State                     ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt
                                                                 ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.12 Nelnet                                                     Last 4 digits of account number         8    5    1     5                        $7,714.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 1/16/2013
      PO Box 82505
      Number             Street
       Attn: Claims                                              As of the date you file, the claim is: Check all that apply.

      Lincoln, NE 68501-2505
                                                                 ❑ Contingent
      City                  State                     ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt
                                                                 ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.13 Nelnet                                                     Last 4 digits of account number         8    2    1     5                        $6,038.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/4/2011
      PO Box 82505
      Number             Street
       Attn: Claims                                              As of the date you file, the claim is: Check all that apply.

      Lincoln, NE 68501-2505
                                                                 ❑ Contingent
      City                  State                     ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt
                                                                 ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 9


             Case 23-12116-MLB                  Doc 1        Filed 10/31/23            Ent. 10/31/23 14:29:33                   Pg. 29 of 63
Debtor 1       Sharon                   Ann                  Wines                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.14 Nelnet                                                     Last 4 digits of account number         8    3    1     5                        $5,100.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/29/2012
      PO Box 82505
      Number             Street
       Attn: Claims                                              As of the date you file, the claim is: Check all that apply.

      Lincoln, NE 68501-2505
                                                                 ❑ Contingent
      City                  State                     ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt
                                                                 ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.15 Nelnet                                                     Last 4 digits of account number         8    7    1     5                        $3,664.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/3/2013
      PO Box 82505
      Number             Street
       Attn: Claims                                              As of the date you file, the claim is: Check all that apply.

      Lincoln, NE 68501-2505
                                                                 ❑ Contingent
      City                  State                     ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt
                                                                 ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.16 Nelnet                                                     Last 4 digits of account number         8    1    1     5                        $3,239.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/4/2011
      PO Box 82505
      Number             Street
       Attn: Claims                                              As of the date you file, the claim is: Check all that apply.

      Lincoln, NE 68501-2505
                                                                 ❑ Contingent
      City                  State                     ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt
                                                                 ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7 of 9


             Case 23-12116-MLB                  Doc 1        Filed 10/31/23            Ent. 10/31/23 14:29:33                   Pg. 30 of 63
Debtor 1       Sharon                   Ann                  Wines                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.17 Wesley Financial Group LLC                                 Last 4 digits of account number                                                  $6,372.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      9009 Carothers Pkwy Ste B
      Number           Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Franklin, TN 37067
      City                   State                    ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Services
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 8 of 9



             Case 23-12116-MLB                  Doc 1        Filed 10/31/23            Ent. 10/31/23 14:29:33                   Pg. 31 of 63
Debtor 1          Sharon                Ann                     Wines                        Case number (if known)
                  First Name            Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                             $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                             $0.00

                   6c.   Claims for death or personal injury while you were           6c.                             $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                         $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                      $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                      $71,329.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                             $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                             $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                  $45,927.00
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                              $117,256.00




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                      page 9 of 9




                Case 23-12116-MLB                  Doc 1        Filed 10/31/23          Ent. 10/31/23 14:29:33                Pg. 32 of 63
 Fill in this information to identify your case:

     Debtor 1                       Sharon               Ann               Wines
                                    First Name           Middle Name      Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name      Last Name

     United States Bankruptcy Court for the:                        Western District of Washington

     Case number                                                                                                                         ❑ Check if this is an
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1                                                                                             Cable
        Xfinity                                                                                 Contract to be ASSUMED
        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 1
                       Case 23-12116-MLB                       Doc 1      Filed 10/31/23         Ent. 10/31/23 14:29:33                  Pg. 33 of 63
 Fill in this information to identify your case:

  Debtor 1           Sharon                  Ann                      Wines
                     First Name              Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                  Western           District of      Washington

  Case number
  (if known)                                                                                                                               ❑ Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
          ✔ No
          ❑
          ❑ Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                         ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                        Column 2: The creditor to whom you owe the debt

                                                                                                       Check all schedules that apply:
 3.1    Johnathan Dewart
        Name                                                                                           ✔ Schedule D, line
                                                                                                       ❑                             2.3

        14303 55th Ave NE                                                                              ❑ Schedule E/F, line
        Number                          Street
                                                                                                       ❑ Schedule G, line
        Marysville, WA 98271
        City                                       State                                    ZIP Code

 3.2
        Name                                                                                           ❑ Schedule D, line
                                                                                                       ❑ Schedule E/F, line
        Number                          Street
                                                                                                       ❑ Schedule G, line
        City                                       State                                    ZIP Code




Official Form 106H                                                     Schedule H: Codebtors                                                             page 1 of 1




               Case 23-12116-MLB                       Doc 1         Filed 10/31/23           Ent. 10/31/23 14:29:33                    Pg. 34 of 63
 Fill in this information to identify your case:

  Debtor 1                  Sharon                 Ann              Wines
                           First Name              Middle Name     Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name     Last Name                                               Check if this is:

  United States Bankruptcy Court for the:                    Western District of Washington                                ❑ An amended filing
                                                                                                                           ❑ A supplement showing postpetition
  Case number                                                                                                                 chapter 13 income as of the following date:
  (if known)

                                                                                                                              MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                            Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status          ✔ Employed ❑ Not Employed
                                                                        ❑                                                   ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation                 customer Service Representative
     employers.
                                             Employer's name            Norco, Inc.
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address         1125 West Amity
     Occupation may include student                                      Number Street                                       Number Street
     or homemaker, if it applies.




                                                                        Boise, ID 83705
                                                                         City                     State     Zip Code         City                State     Zip Code
                                             How long employed there? 4 months



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1     For Debtor 2 or
                                                                                                                       non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.          2.               $4,048.33                     $0.00

 3. Estimate and list monthly overtime pay.                                              3.   +               $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                         4.               $4,048.33                     $0.00




Official Form 106I                                                       Schedule I: Your Income                                                                page 1
                    Case 23-12116-MLB                    Doc 1     Filed 10/31/23             Ent. 10/31/23 14:29:33                   Pg. 35 of 63
 Debtor 1                 Sharon                       Ann                             Wines                                         Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.            $4,048.33                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.             $624.07                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.             $404.84                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00
       5h. Other deductions. Specify: See additional page                                                      5h. +            $62.13        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.            $1,091.05                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.            $2,957.29                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify: Income from All Other Sources -                                      8h.    +      $1,894.58        +           $0.00
                                          VA Widows Benefit

 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.            $1,894.58                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $4,851.87    +               $0.00         =          $4,851.87

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             $4,851.87

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                     Case 23-12116-MLB                                Doc 1             Filed 10/31/23               Ent. 10/31/23 14:29:33            Pg. 36 of 63
 Debtor 1            Sharon            Ann              Wines                                Case number (if known)
                     First Name        Middle Name      Last Name




                                                                                                                             Amount



   5h. Other Deductions For Debtor 1


       Other Involuntary deduction                                                                                            $62.13




Official Form 106I                                              Schedule I: Your Income                                        page 3
                Case 23-12116-MLB               Doc 1   Filed 10/31/23          Ent. 10/31/23 14:29:33        Pg. 37 of 63
 Fill in this information to identify your case:

  Debtor 1                  Sharon                  Ann                  Wines
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                       Western District of Washington
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $1,000.00


     If not included in line 4:
                                                                                                                              4a.                           $0.00
     4a. Real estate taxes
                                                                                                                              4b.                          $60.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                           $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                        $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                    Case 23-12116-MLB                      Doc 1        Filed 10/31/23            Ent. 10/31/23 14:29:33                Pg. 38 of 63
 Debtor 1             Sharon                Ann                   Wines                                      Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $155.00

       6b. Water, sewer, garbage collection                                                                        6b.                       $56.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                   $289.00

       6d. Other. Specify:                                                                                         6d.                        $0.00

 7.    Food and housekeeping supplies                                                                              7.                    $370.00

 8.    Childcare and children’s education costs                                                                    8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                        $75.00

 10. Personal care products and services                                                                           10.                       $25.00

 11.   Medical and dental expenses                                                                                 11.                   $353.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $350.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $55.00

 14. Charitable contributions and religious donations                                                              14.                        $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                       $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                       $0.00

       15c. Vehicle insurance                                                                                      15c.                  $142.00

       15d. Other insurance. Specify:                                                                              15d.                       $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                        $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                  $587.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                  $250.00
       17c. Other. Specify:                 Student Loans`
                                                                                                                   17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                 page 2
                    Case 23-12116-MLB                 Doc 1        Filed 10/31/23         Ent. 10/31/23 14:29:33              Pg. 39 of 63
 Debtor 1            Sharon              Ann                   Wines                                        Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                        VA Benefits                                                           21.     +           $1,084.87

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                $4,851.87

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                $4,851.87


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                $4,851.87

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –           $4,851.87

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                    $0.00
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
                Case 23-12116-MLB                    Doc 1      Filed 10/31/23           Ent. 10/31/23 14:29:33               Pg. 40 of 63
 Fill in this information to identify your case:

  Debtor 1                      Sharon                      Ann                      Wines
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                 Western District of Washington

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                               $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                              $44,259.55

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                        $44,259.55



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                 $73,568.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                            $0.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $117,256.00


                                                                                                                                                  Your total liabilities                    $190,824.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                       $4,851.87


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $4,851.87




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                         page 1 of 2
                    Case 23-12116-MLB                              Doc 1            Filed 10/31/23                   Ent. 10/31/23 14:29:33                              Pg. 41 of 63
Debtor 1            Sharon                Ann                    Wines                                             Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                              $4,022.95




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                               $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                      $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                            $0.00



    9d. Student loans. (Copy line 6f.)                                                                                        $71,329.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                            $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                      $0.00



    9g. Total. Add lines 9a through 9f.                                                                                       $71,329.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                           page 2 of 2
                Case 23-12116-MLB                   Doc 1         Filed 10/31/23             Ent. 10/31/23 14:29:33                   Pg. 42 of 63
 Fill in this information to identify your case:

  Debtor 1                  Sharon                 Ann              Wines
                            First Name             Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                                                                                                                     ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                      Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Sharon Ann Wines
        Sharon Ann Wines, Debtor 1


        Date 10/31/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                    Case 23-12116-MLB                    Doc 1      Filed 10/31/23         Ent. 10/31/23 14:29:33                Pg. 43 of 63
 Fill in this information to identify your case:

  Debtor 1                  Sharon                 Ann               Wines
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
     14302 55th Ave. NE                                    From 11/2014                                                                   From
    Number       Street                                                               Number     Street
                                                           To    5/2022                                                                   To

     Marysville, WA 98271
    City                             State ZIP Code                                   City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
     14303 55th Ave. NE                                    From 5/2022                                                                    From
    Number       Street                                                               Number     Street
                                                           To    7/2023                                                                   To

     Marysville, WA 98271
    City                             State ZIP Code                                   City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1


                    Case 23-12116-MLB                    Doc 1      Filed 10/31/23           Ent. 10/31/23 14:29:33                  Pg. 44 of 63
Debtor 1            Sharon            Ann                    Wines                                           Case number (if known)
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
    From January 1 of current year until the                                          $33,183.52
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ❑ Operating a business                                  ❑ Operating a business

    For last calendar year:                    ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                     $26,960.00           bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business

    For the calendar year before that:         ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                     $42,025.00           bonuses, tips
    (January 1 to December 31, 2021       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    VA Benefit                             $18,946.00
    date you filed for bankruptcy:




    For last calendar year:                     IRA Distribution &                      $2,996.00
    (January 1 to December 31, 2022       )     Capital Gains                          $22,735.00
                                   YYYY         VA Benefit




    For the calendar year before that:          Capital Gains and                         $668.00
    (January 1 to December 31, 2021       )     Qualified Dividends                    $22,735.00
                                   YYYY         VA Benefit




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2

                 Case 23-12116-MLB                  Doc 1       Filed 10/31/23           Ent. 10/31/23 14:29:33                 Pg. 45 of 63
Debtor 1             Sharon                       Ann                   Wines                                         Case number (if known)
                     First Name                   Middle Name           Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of            Total amount paid        Amount you still owe       Was this payment for…
                                                                  payment

             Columbia Credit Union                                                              $1,737.00                  $18,760.00    ❑ Mortgage
             Creditor's Name
                                                                                                                                         ✔ Car
                                                                                                                                         ❑
             Attn: Bankruptcy
                                                                                                                                         ❑ Credit card
             PO Box 324
             Number       Street                                                                                                         ❑ Loan repayment
             Vancouver, WA 98666                                                                                                         ❑ Suppliers or vendors
             City                         State      ZIP Code
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of            Total amount paid   Amount you still         Reason for this payment
                                                                payment                                 owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3

                    Case 23-12116-MLB                           Doc 1      Filed 10/31/23          Ent. 10/31/23 14:29:33                 Pg. 46 of 63
Debtor 1             Sharon                  Ann                      Wines                                            Case number (if known)
                     First Name              Middle Name              Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                              Dates of            Total amount paid     Amount you still           Reason for this payment
                                                              payment                                   owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State     ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                         Nature of the case                       Court or agency                                  Status of the case

    Case title                                                                                                                                   ❑ Pending
                                                                                                 Court Name                                      ❑ On appeal
                                                                                                                                                 ❑ Concluded
                                                                                                 Number       Street
    Case number

                                                                                                 City                      State      ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                         Describe the property                                 Date                 Value of the property



    Creditor’s Name


    Number       Street                                                  Explain what happened

                                                                      ❑ Property was repossessed.
                                                                      ❑ Property was foreclosed.
                                                                      ❑ Property was garnished.
    City                            State     ZIP Code
                                                                      ❑ Property was attached, seized, or levied.

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 4


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Debtor 1            Sharon                  Ann                     Wines                                          Case number (if known)
                    First Name              Middle Name             Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                             Describe the action the creditor took                      Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number     Street



    City                          State     ZIP Code
                                                            Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600             Describe the gifts                                         Dates you gave       Value
     per person                                                                                                        the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State    ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 5

                 Case 23-12116-MLB                         Doc 1       Filed 10/31/23           Ent. 10/31/23 14:29:33               Pg. 48 of 63
Debtor 1             Sharon              Ann                    Wines                                        Case number (if known)
                     First Name          Middle Name            Last Name

     Gifts or contributions to charities       Describe what you contributed                                Date you               Value
     that total more than $600                                                                              contributed



    Charity’s Name




    Number     Street



    City                    State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                        Date of your loss      Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred            Date payment or        Amount of payment
    Washington Law Group, PLLC                                                                              transfer was made
    Person Who Was Paid                        Attorney's Fee
                                                                                                            7/23 - 8/23                       $1,400.00
    2319 N 45th St Ste 215A
    Number     Street




    Seattle, WA 98103
    City                    State   ZIP Code
    erinl@wasgingtonstateattorneys.com
    Email or website address
    Sharon Wines
    Person Who Made the Payment, if Not You




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
                 Case 23-12116-MLB                     Doc 1      Filed 10/31/23          Ent. 10/31/23 14:29:33                Pg. 49 of 63
Debtor 1            Sharon              Ann                      Wines                                      Case number (if known)
                    First Name          Middle Name              Last Name

                                              Description and value of any property transferred            Date payment or        Amount of payment
    Access Counseling                                                                                      transfer was made
    Person Who Was Paid                       credit couseling
                                                                                                           08/20/2023                          $18.95
    633 W 5th St # 26001
    Number     Street




    Los Angeles, CA 90071-2005
    City                   State   ZIP Code
    www.accessbk.org
    Email or website address
    Sharon Wines
    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or        Amount of payment
    Wesley Financial Group LLC                                                                             transfer was made
    Person Who Was Paid                       fee
                                                                                                                                            $4,000.00
    9009 Carothers Pkwy Ste B
    Number     Street




    Franklin, TN 37067
    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of property         Describe any property or payments             Date transfer was
                                              transferred                               received or debts paid in exchange            made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7

                 Case 23-12116-MLB                    Doc 1        Filed 10/31/23        Ent. 10/31/23 14:29:33                Pg. 50 of 63
Debtor 1            Sharon                Ann                   Wines                                         Case number (if known)
                    First Name            Middle Name           Last Name



  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of the property transferred                                         Date transfer was
                                                                                                                                          made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Last 4 digits of account number         Type of account or     Date account was           Last balance
                                                                                         instrument             closed, sold, moved, or    before closing or
                                                                                                                transferred                transfer
    Edward Jones
                                                                                                                 2022                          $2,525.00
                                                                                     ❑ Checking
    Name of Financial Institution
                                                 XXXX–
                                                                                     ❑ Savings
    Number      Street
                                                                                     ❑ Money market
                                                                                     ❑ Brokerage
                                                                                     ✔ Other IRA
                                                                                     ❑
    City                     State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else had access to it?                   Describe the contents                        Do you still have
                                                                                                                                            it?

                                                                                                                                          ❑ No
    Name of Financial Institution                Name
                                                                                                                                          ❑ Yes

    Number      Street                           Number    Street



                                                 City                 State   ZIP Code

    City                     State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8

                 Case 23-12116-MLB                      Doc 1       Filed 10/31/23           Ent. 10/31/23 14:29:33             Pg. 51 of 63
Debtor 1            Sharon                Ann                   Wines                                          Case number (if known)
                    First Name            Middle Name           Last Name



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else has or had access to it?           Describe the contents                          Do you still have
                                                                                                                                             it?

                                                                                                                                           ❑ No
    Name of Storage Facility                     Name
                                                                                                                                           ❑ Yes

    Number     Street                            Number    Street



                                                 City                 State   ZIP Code

    City                     State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Where is the property?                      Describe the property                          Value


    Owner's Name
                                                 Number    Street


    Number     Street

                                                 City                 State   ZIP Code


    City                     State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 9



                 Case 23-12116-MLB                      Doc 1       Filed 10/31/23         Ent. 10/31/23 14:29:33                  Pg. 52 of 63
Debtor 1            Sharon                Ann                     Wines                                        Case number (if known)
                    First Name            Middle Name             Last Name

                                                 Governmental unit                       Environmental law, if you know it              Date of notice


    Name of site                                Governmental unit



    Number       Street                         Number       Street


                                                City                  State   ZIP Code


    City                     State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                       Environmental law, if you know it              Date of notice


    Name of site                                Governmental unit



    Number       Street                         Number       Street


                                                City                  State   ZIP Code


    City                     State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Court or agency                         Nature of the case                             Status of the case


    Case title
                                                Court Name
                                                                                                                                        ❑ Pending
                                                                                                                                        ❑ On appeal
                                                                                                                                        ❑ Concluded
                                                Number       Street


    Case number
                                                City                  State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 10

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Debtor 1            Sharon                Ann                       Wines                                            Case number (if known)
                    First Name            Middle Name               Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
     Threading My Way LLC                                                                                    Do not include Social Security number or ITIN.
    Name
                                                   Textiles, Clothing & Footwear
                                                                                                              EIN:          –
     14303 55th Ave Ne
    Number        Street

                                                    Name of accountant or bookkeeper                         Dates business existed

                                                                                                              From 11/18/22         To current
     Marysville, WA 98271-6615
    City                     State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                     State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 11

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 Debtor 1           Sharon              Ann                   Wines                                         Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Sharon Ann Wines
        Signature of Sharon Ann Wines, Debtor 1


        Date 10/31/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12

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 Fill in this information to identify your case:

  Debtor 1                  Sharon                 Ann               Wines
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                                                                                                                    ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral           What do you intend to do with the property that secures Did you claim the property as
                                                                         a debt?                                                 exempt on Schedule C?

    Creditor’s                                                           ✔ Surrender the property.
                                                                         ❑                                                         ✔ No
                                                                                                                                   ❑
    name:               Kitsap Cu
                                                                         ❑ Retain the property and redeem it.                      ❑ Yes
    Description of
    property
                        2017 Mallard 26' Trailer
                        co-owned with Jonathan Dewart. Debtor is
                                                                         ❑ Retain the property and enter into a
    securing debt:      surrendering her interest only                          Reaffirmation Agreement.
                                                                         ❑ Retain the property and [explain]:

    Creditor’s                                                           ✔ Surrender the property.
                                                                         ❑                                                         ✔ No
                                                                                                                                   ❑
    name:               Wyndham Resort Development
                                                                         ❑ Retain the property and redeem it.                      ❑ Yes
    Description of
    property
                        Timeshare
                        Po Box 98940 Las Vegas, NV 89193-8940
                                                                         ❑ Retain the property and enter into a
    securing debt:                                                              Reaffirmation Agreement.
                                                                         ❑ Retain the property and [explain]:




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1

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 Debtor 1            Sharon            Ann                 Wines                                          Case number (if known)
                     First Name        Middle Name          Last Name




         Additional Page for Part 1

    Creditor’s                                                   ❑ Surrender the property.                                   ❑ No
    name:              Columbia Credit Union
                                                                 ❑ Retain the property and redeem it.                        ✔ Yes
                                                                                                                             ❑
    Description of
    property
                       2020 Kia Sportage
                                                                 ❑ Retain the property and enter into a
    securing debt:                                                      Reaffirmation Agreement.
                                                                 ✔ Retain the property and [explain]:
                                                                 ❑

    Creditor’s                                                   ❑ Surrender the property.                                   ✔ No
                                                                                                                             ❑
    name:              Boeing Ecu
                                                                 ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property                                                     ❑ Retain the property and enter into a
    securing debt:                                                      Reaffirmation Agreement.
                                                                 ✔ Retain the property and [explain]:
                                                                 ❑




Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                              page

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 Debtor 1            Sharon                 Ann                 Wines                                        Case number (if known)
                     First Name             Middle Name          Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                         Will the lease be assumed?
    Lessor’s name:                Xfinity                                                                                     ❑ No
                                                                                                                              ✔ Yes
                                                                                                                              ❑
    Description of leased
    property:                     Cable

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Sharon Ann Wines
      Signature of Debtor 1


      Date 10/31/2023
            MM/ DD/ YYYY




Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                                        page 2

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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                             Western District of Washington

In re        Wines, Sharon Ann

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $1,400.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,400.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Representation of the debtors in any dischargeability action, judicial lien avoidances, Motion to Redeem, motions to incur debt, relief from
        stay actions, negotiating reaffirmations, or any other adversary proceeding.




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                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        10/31/2023                                                   /s/ Erin Lane
                Date                                         Erin Lane
                                                             Signature of Attorney
                                                                                                Bar Number: 42504
                                                                                       Washington Law Group, PLLC
                                                                                           2319 N 45th St Ste 215A
                                                                                                 Seattle, WA 98103
                                                                                             Phone: (206) 686-6054

                                                                        Washington Law Group, PLLC
                                                            Name of law firm




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF WASHINGTON
                                                            SEATTLE DIVISION

IN RE: Wines, Sharon Ann                                                              CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      10/31/2023            Signature                                /s/ Sharon Ann Wines
                                                                        Sharon Ann Wines, Debtor




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                             Barclays Bank Delaware
                             Attn: Bankruptcy 125 South West St
                             Wilmington, DE 19801




                             BECU
                             Attn: Bankruptcy Department
                             PO Box 97050
                             Seattle, WA 98124-9750



                             Boeing Ecu
                             Po Box 97050
                             Seattle, WA 98124




                             Capital One
                             Attn: Bankruptcy
                             PO Box 30285
                             Salt Lake City, UT 84130-0285



                             Citi Card/Best Buy
                             Attn: Centralized Bankruptcy
                             PO Box 790040
                             St Louis, MO 36179-0040



                             Columbia Credit Union
                             Attn: Bankruptcy
                             PO Box 324
                             Vancouver, WA 98666



                             Comenity/Wyndham
                             Attn: Bankruptcy
                             PO Box 182125
                             Columbus, OH 43218



                             Costco Citi Card
                             Attn: Bankruptcy
                             PO Box 6500
                             Sioux Falls, SD 57117




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                             Internal Revenue Service
                             Po Box 4346
                             Philadelphia, PA 19118-8346




                             Johnathan Dewart
                             14303 55th Ave NE
                             Marysville, WA 98271




                             Kitsap Cu
                             P.o. Box 990
                             Bremerton, WA 98337




                             Navient
                             Attn: Bankruptcy
                             PO Box 9500
                             Wilkes-Barre, PA 18773-9500



                             Nelnet
                             Attn: Claims
                             PO Box 82505
                             Lincoln, NE 68501-2505



                             Wesley Financial Group LLC
                             9009 Carothers Pkwy Ste B
                             Franklin, TN 37067




                             Wyndham Resort
                             Development
                             Attn: Bankruptcy
                             P.O. Box 98940
                             Las Vega, NV 89139-8940


                             Xfinity




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